                             UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

JERRY HARVEY AUDIO HOLDING, LLC,
and JERRY HARVEY AUDIO, LLC,

                                      Plaintiffs,          Case No. 6:14-cv-02083-CEM-DCI
   v.

1964 EARS, LLC, and EASTERWOOD &
ASSOCIATES, LLC, d/b/a EARS 2 HEAR,

                                      Defendants.

             PLAINTIFFS' NOTICE OF SUPPLMENTAL AUTHORITY IN
          OPPOSITION TO DEFENDANT'S MOTION FOR FEES AND COSTS

        Plaintiffs Jerry Harvey Audio Holding, LLC, and Jerry Harvey Audio, LLC (collectively

“JH Audio”), hereby notify the Court of supplemental authority in opposition to Defendant

1964 Ears, LLC's (“1964”) Motion for Fees and Costs (Dkt. 151), namely, today’s precedential

decision by the Court of Appeals for the Federal Circuit in B.E. Technology, L.L.C. v.

Facebook, Inc, No. 18-2356, regarding the definition of “prevailing party” under the Patent Act.

A copy of the decision is attached.

        In B.E. Tech, the Federal Circuit discussed Supreme Court precedent on the issue:

        In Buckhannon, the issue concerned whether a party has prevailed when it “failed
        to secure a judgment on the merits or a court-ordered consent decree, but has
        nonetheless achieved the desired result because the lawsuit brought about a
        voluntary change in the defendant’s conduct.” 532 U.S. at 600. Several circuits had
        recognized a “catalyst” theory, where a party could prevail without judicially
        sanctioned change in the legal relationship of the parties, provided that the litigation
        brought about the desired result through a voluntary change in the defendant’s
        conduct. Id. at 601–02. In rejecting this theory, the Court established that some
        manner of judicial relief is required for a party to prevail. Id. at 605. A defendant’s
        voluntary change in conduct, even if it “accomplish[es] what the plaintiff sought to
        achieve by the lawsuit, lacks the necessary judicial imprimatur on the change.” Id.

Id. at 4-5 (citing Buckhannon Bd. & Care Home, Inc. v. W. Va. Dep’t of Health & Human Res.,



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532 U.S. 598 (2001)) (emphasis added). The Federal Circuit continued in B.E. Tech to hold that,

“[a] decision with judicial imprimatur is required to give rise to prevailing party status.” Id. at 5.

       In B.E. Tech, the plaintiff’s patent was invalidated through inter partes review petitioned

by the defendants after the district court case was filed. After the Federal Circuit affirmed the

Patent Office’s finding of the asserted patent invalid, the defendants moved to have the district

court case dismissed. The district court granted the motion to dismiss, finding the case moot. The

Federal Circuit held defendants were prevailing parties because, “Facebook obtained the outcome

it sought via the mootness dismissal.” Id. at 7. Because, “the district court dismissed the claims it

had before it, [i]t thereby placed a judicial imprimatur upon B.E.’s claim for patent infringement.”

Id. at 5, 7-8. The Federal Circuit did not hold in B.E. Tech that the Patent Office’s finding, on inter-

partes review, sufficed to provide the “judicial imprimatur” that Buckhannan requires for

“prevailing party” status.



Dated: October 9, 2019                              Respectfully submitted,

                                                     s/Daniel B. Ravicher
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                                                    Holding, LLC, and Jerry Harvey Audio, LLC




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                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on October 9, 2019, I electronically filed the foregoing with the

Clerk of the Court by using the CM/ECF system which will send a notice of electronic filing to all

counsel of record.

                                                  s/Daniel B. Ravicher
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